                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  NO. 5:14-CR-240-BR


UNITED STATES OF AMERICA                        )
                                                )
                v.                              )     ORDER
                                                )
WILLIAM SCOTT DAVIS, JR.                        )
                                                )


       On remand from the Fourth Circuit Court of Appeals, on 5 June 2017, the parties

appeared before the court for a hearing to determine defendant’s competency pursuant to 18

U.S.C. § 4241. Based on the testimony at the hearing and other evidence in the record, the court

finds that defendant is able to understand the nature and consequences of the proceedings against

him and to assist properly in his defense. Defense counsel’s motion to withdraw, (DE # 100), is

ALLOWED. Defendant’s pro se motions for new counsel, (DE ## 151, 214), are DENIED as

moot. The Federal Public Defender is DIRECTED to appoint new counsel for defendant.

Arraignment and trial are SET for 10 July 2017. Because new counsel will need additional time

to meet with defendant and prepare, the court finds that the ends of justice served by this

continuance outweigh the best interest of defendant and the public in a speedy trial.

Accordingly, any delay occasioned by this continuance is excluded from speedy trial time

calculation. 18 U.S.C. § 3161(h)(7)(A).

       This 6 June 2017.




                                      __________________________________
                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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